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                           EXHIBIT C
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                                                                           Page 1
 2                 IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
 3                       FORT LAUDERDALE DIVISION
 4                CASE No. 0:18-CV-60788-MARTINEZ/SNOW
 5
     SPRINT COMMUNICATIONS, INC.,
 6
            Plaintiff and Counterclaim-Defendant,
 7
     -vs-
 8
     STEPHEN CALABRESE, as an individual,
 9   NEXTEL, INC. d/b/a NEXTEL WORLDWIDE,
     RETROBRANDS USA LLC, and JEFFREY KAPLAN,
10   as an individual,
11        Defendants and Counterclaimants.
     ________________________________________________/
12
13
14                **CONTAINS CONFIDENTIAL PORTIONS**
15                  (Pages 82-92, 158-173, 208-279)
16             VIDEOTAPED DEPOSITION OF STEPHEN CALABRESE
17
18
                         Wednesday, December 5, 2018
19                          9:14 a.m. - 6:38 p.m.
                              5550 Glades Road
20                        Boca Raton, Florida 33431
21
22
23
     Stenographically Reported By
24   Pamela J. Pelino, RPR, FPR
     Notary Public, State of Florida
25   Job No. 150629

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                                                                           Page 2
 1                                    S. CALABRESE
 2   APPEARANCES:
 3   On behalf of the Plaintiff:
 4        LUCY WHEATLEY, ESQUIRE
          McGUIREWOODS
 5        Gateway Plaza
          800 East Canal Street
 6        Richmond, Virginia 23219
 7
 8
 9

     On behalf of the Defendants Stephen Calabrese,
10      Nextel Inc., Nextel Worldwide:
          JAMES KERNELL, ESQUIRE
11        ERICKSON KERNELL
          8900 State Line Road
12        Leawood, Kansas 66206
13
14
15
16   On behalf of Nextel and Jeffrey Kaplan:
          WAYNE SCHWARTZ, ESQUIRE
17        LEE & AMTZIS
          5550 Glades Road
18        Boca Raton, Florida 33431
19
20
21

     Present:
22

            JEFFREY KAPLAN
23
24   Also Present:
25        JEFFREY MENTON, VIDEOGRAPHER

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                                                                                      Page 3
 1                                  S. CALABRESE
 2                                     - - -
 3                                   I N D E X
 4                                     - - -
 5   STEPHEN CALABRESE             DIRECT      CROSS                     REDIRECT
 6   BY MS. WHEATLY                  9
 7
 8                                  -   -             -
                      E X H I B I T S                  M A R K E D
 9                               - -                  -
     DESCRIPTION                                                                    PAGE
10

     Plaintiff's Exhibit 1                                                           19
11     (Declaration of Stephen Calabrese)
12   Plaintiff's Exhibit 2                                                           27
       (Notice of 30(b)(6) Deposition of Nextel, Inc.)
13

     Plaintiff's Exhibit 3                                                           63
14     (Emails, Joint Motion to Suspend Opposition
        Proceeding Pending Outcome of Civil Action,
15      Complaint, NEXTEL 1163-1255)
16   Plaintiff's Exhibit 4                                                           66
       (Sunbiz Corporate History for Nextel, Inc.,
17      Electronic Articles of Incorporation, Filing,
        Cover Letter and Associated Documents,
18      SPR0000034-44)
19   Plaintiff's Exhibit 5                                                           81
       (Merchandising License Agreement -
20      Highly Confidential, AEO - NEXTEL 1029-47)
21   Plaintiff's Exhibit 6                                                           111
       (Google Search pages for Nextel Communications,
22      Wikipedia, etc., )
23   Plaintiff's Exhibit 7                                                           127
       (Trademark/Service Mark Application, Principal
24      Register, SPR0000045-50)
25


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 1                             S. CALABRESE
 2                               - - -
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 3                               - - -
 4                             (CONTINUED)
 5   DESCRIPTION                                                         PAGE
 6   Plaintiff's Exhibit 8                                                137
       (Video played during deposition)
 7
     Plaintiff's Exhibit 9                                                139
 8     (Photographs of Box, SPR0000347-352)
 9   Plaintiff's Exhibit 10                                               158
       (Excel Pricing Document - Highly
10      Confidential, AEO - NEXTEL 1048-51)
11   Plaintiff's Exhibit 11                                               172
       (Features & Specifications for various Radios
12      and Devices, SPR0000097-110)
13   Plaintiff's Exhibit 12                                               182
       ("Iconic Nextel Communications Brand..."
14      Press Release, SPR0000247-248))
15   Plaintiff's Exhibit 13                                               187
       (Nextel Website Pages, SPR0000072-96)
16
     Plaintiff's Exhibit 14                               191
17     (Facebook Pages, SPR0003264-65)
18   Plaintiff's Exhibit 15                               193
       (Tell Communications Website Pages, SPR0000182-85)
19
     Plaintiff's Exhibit 16                                               184
20     (Northeast Two Way Radio Corp./Nextel Website
        Page, SPR0003267)
21
     Plaintiff's Exhibit 17                                               197
22     (Photographs, SPR000605-603, 255, 256, 258, 259)
23   Plaintiff's Exhibit 18                                               199
       (March 27, 2017 Letter to Nextel, Inc.,
24      Stephen Calabrese from E. Leonard Rubin,
        SPR0000577)
25


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 1                             S. CALABRESE
 2                               - - -
 3                    E X H I B I T S   M A R K E D
                                 - - -
 4                             (CONTINUED)
 5   DESCRIPTION                                                         PAGE
 6   Plaintiff's Exhibit 19                                               208
       (Nextel Dealer Application - Highly
 7      Confidential - AEO, NEXTEL 1102-04)
 8   Plaintiff's Exhibit 20                                               210
       (Listing of Dealers - Highly Confidential,
 9      AEO - NEXTEL 1020)
10   Plaintiff's Exhibit 21                                               213
       (1/5/17 Letter to C. Mathis from S. Calabrese -
11      Highly Confidential, AEO - NEXTEL 1055)
12   Plaintiff's Exhibit 22                                               218
       (Nextel, Inc. Dealer Agreement - Highly
13      Confidential, AEO - NEXTEL 1052-54)
14   Plaintiff's Exhibit 23                                               221
       (Exclusive Distributor/Master Dealer Agreement
15      with Nextel Northwest - Highly Confidential,
        AEO - NEXTEL 1056-60)
16
     Plaintiff's Exhibit 24                                               227
17     (Exclusive Distributor/Master Dealer Agreement
        with Chicago Equipment Company, Inc. -
18      Highly Confidential, AEO - NEXTEL 1062-67)
19   Plaintiff's Exhibit 25                                               231
       (Sales Order - Highly Confidential, AEO -
20      NEXTEL 1021)
21   Plaintiff's Exhibit 26                                               237
       (Nextel Worldwide Balance Sheet and Income
22      Statements - Highly Confidential, AEO -
        NEXTEL 1022-28)
23
     Plaintiff's Exhibit 27                                               278
24     (4/26/17 Letter to S. Calabrese from Sprint
        with Attachments, SPR0000114-119)
25


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 1                             S. CALABRESE
 2                             -Continued-
 3                               - - -
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 4                               - - -
                               (CONTINUED)
 5   DESCRIPTION                                                         PAGE
 6   Plaintiff's Exhibit 28                                               279
       (Emails, SPR0006597-601)
 7
     Plaintiff's Exhibit 29                                               285
 8     (Emails, SPR0006631-33)
 9   Plaintiff's Exhibit 30                                               286
       (10/26/17 Email from E.L. Rubin to S. Calabrese,
10      J. Cotter, SPR0000257)
11   Plaintiff's Exhibit 31                                               292
       (2/8/18 Email from E.L. Rubin to J. Cotter,
12      SPR0000186)
13   Plaintiff's Exhibit 32                                               293
       (Emails, NEXTEL 1258-59)
14
     Plaintiff's Exhibit 33                                               297
15     (1/15/18 Email from S. Calabrese to E.L. Rubin,
        NEXTEL 1267)
16
     Plaintiff's Exhibit 34                                               296
17     (Emails, NEXTEL 1290-91)
18   Plaintiff's Exhibit 35                                               298
       (Emails, NEXTEL 1287-89)
19
     Plaintiff's Exhibit 36                                               306
20      (First Amended Complaint)
21
22                    ATTORNEYS EYES ONLY TESTIMONY
23                            Pages 82 - 92
24                            Pages 158 -173
25                           Pages 208 - 279

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                                                                                    Page 7
 1                                  S. CALABRESE
 2                         P R O C E E D I N G S
 3                                       - - -
 4          Deposition taken before Pamela J. Pelino,
 5   Registered Professional Court Reporter and Notary Public
 6   in and for the State of Florida at Large, in the above
 7   cause.
 8                                     -     -    -
 9                 THE VIDEOGRAPHER:              We are on the video
10          record.    The time is approximately 9:14 a.m.                     Today
11          is December the 5th, 2018.                  This is the start of
12          video media disk 1 of the video deposition of
13          Steve Calabrese.          Please note the microphones are
14          very sensitive.         Be aware that they can pick up
15          whispering and conversations not intended for the
16          record.    Additionally, please turn off your cell
17          phones or place them away from the microphones as
18          they can interfere.
19                 This is the matter of Sprint Communications,
20          Inc., plaintiff and counterclaim-defendant versus
21          Steve Calabrese, as an individual, et al.,
22          defendants and counter-claimants in the United
23          States District Court, Southern District of
24          Florida, Fort Lauderdale Division.                       This is case
25          number 0:18-CV-60788.


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                                                                           Page 8
 1                                  S. CALABRESE
 2                 This deposition is being held at the offices
 3          of Lee & Amtzis, P.L., at 5550 Glades Road,
 4          Boca Raton, Florida.             My name is Jeff Menton.     I am
 5          the certified legal video specialist from
 6          TSG Reporting headquartered at 747 3rd Avenue,
 7          New York.     The court reporter is Pamela Pelino,
 8          also in association with TSG.
 9                 Would counsel please introduce yourselves and
10          state whom you represent, starting with the
11          noticing attorney, and then would the court
12          reporter please swear the witness in.
13                 MS. WHEATLEY:           I am Lucy Jewett Wheatley,
14          representing plaintiff Sprint Communications, Inc.
15                 MR. KERNELL:          I'm Jim Kernell with Erickson
16          Kernell, representing Stephen Calabrese and Nextel,
17          Inc.
18                 MR. SCHWARTZ:           Wayne Schwartz, co-counsel for
19          the defendants.
20   Thereupon,
21                             STEPHEN CALABRESE,
22   having been first duly sworn or affirmed, was examined
23   and testified as follows:
24                 THE WITNESS:          Yes.
25



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                                                                              Page 131
 1                                    S. Calabrese
 2    I'm assuming the answer to this is no since you said you
 3    don't know what Nextel Chirp is, but I'm assuming if you
 4    heard a Nextel Chirp, you couldn't identify it?
 5          A.      I wouldn't call it a Nextel Chirp.                  I would
 6    call it a Motorola talk permit tone.
 7          Q.      Well, I'm -- I'm confused, Mr. Calabrese,
 8    because I believe you had testified that you don't know
 9    what I'm talking about when I say Nextel Chirp.
10    Is -- or do you know what I'm talking about when I say
11    Nextel Chirp?
12          A.      No, I don't.
13          Q.      Okay.
14          A.      I -- I -- I -- I know -- I know that
15    Retrobrands had filed for something called Nextel Chirp
16    that has an intellectual property of their own, but it
17    has nothing do with our company.                     Now, I know that
18    there's a slang term called "chirp" not necessarily
19    related to Nextel or anybody else but, I mean,
20    that's -- that's really all I know.
21          Q.      Okay.      Do you know -- do NW's devices use any
22    particular tone when their turn -- when their -- when
23    the push to talk is activated?
24          A.      Yes.
25          Q.      What tone is that?


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                                                                         Page 132
 1                                    S. Calabrese
 2          A.      Just a simple beep, a roger beep.
 3          Q.      Roger beep.          And does -- is their -- when you
 4    say a roger beep, is there -- does a -- a roger beep
 5    just mean any beep that is used to signal that you are
 6    starting to talk or done talking?
 7          A.      Yes, that's how I understand it.
 8          Q.      So it's not a particular sound?
 9          A.      No.    No.      The one sound that -- that the old
10    Nextel operator made was a -- a sound that was a
11    Motorola, you know, tone because it was a -- Motorola
12    manufactured equipment.
13          Q.      When you say -- why do you think --
14          A.      Because all Motorola --
15                  MR. KERNELL:           Wait.        Wait.
16    BY MS. WHEATLEY:
17          Q.      Yeah.      Let me ask the question.
18                  MR. KERNELL:           Let her finish the question.
19                  THE WITNESS:           Sure.
20                  MR. KERNELL:           And I just want to remind you.
21          Let her finish the question before you start
22          talking.      One, it gives me an opportunity to object
23          if I need to; second, the court reporter has a much
24          better time.
25                  THE WITNESS:           Sure.        Sorry.


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                                                                                Page 133
 1                                    S. Calabrese
 2                  MR. KERNELL:           And it makes the record
 3          clearer.
 4                  THE WITNESS:           Absolutely.
 5                  MR. KERNELL:           Just, you know, slow down a
 6          little.
 7                  THE WITNESS:           No problem.            No problem.
 8                  MR. KERNELL:           Sorry.
 9    BY MS. WHEATLEY:
10          Q.      Did -- when you -- did Motorola equipment use
11    a particular chirp sound that was distinct from other
12    chirp sounds used by other manufacturers on the market?
13          A.      I wouldn't call it a chirp sound.                     I'd call
14    it a talk permit tone.             That's a slang term.             There's
15    no -- in the technical world, we don't call it a chirp
16    tone.    That's a -- that's some type of marketing phrase.
17          Q.      Okay.      Well, whatever you call it, is there
18    one that's distinct to Motorola that you know of?
19          A.      Correct.        Yes.
20          Q.      Do you know who owns that tone?
21          A.      No, I don't.
22          Q.      Do you know if it's a trademark?
23          A.      I'm -- I'm not -- I -- I don't recall, and I
24    don't know.      I mean, it's not really -- I'm not in the
25    trademark business.           It would be something you should


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                                                                                 Page 134
 1                                    S. Calabrese
 2    ask Retrobrands and...
 3          Q.      Okay.      But your NW's devices do not use what
 4    you're referring to as the Motorola tone; correct?
 5          A.      No, they're not made by Motorola.
 6          Q.      Okay.      And have you ever used a Motorola tone
 7    in advertising NW's services or devices?
 8          A.      No.
 9          Q.      Do you know if Sprint has ever owned a
10    particular sound trademark?
11          A.      No.
12          Q.      All right.          Give me just a -- all right.              I
13    would like to play a video for you, Mr. Calabrese.
14          A.      Sure.
15          Q.      And I want you to listen.                     There's a tone in
16    the video, and I just want you to tell me if that's
17    what you're referring to as the Motorola tone.
18          A.      Sure.
19                  THE VIDEOGRAPHER:               Do you want me to record
20          this?
21                  MS. WHEATLEY:            Yes, please.
22                   (Discussion held off the record.)
23                  MR. KERNELL:           Because this doesn't say or it
24          doesn't record a track; right?                      Each of these?
25                  THE VIDEOGRAPHER:               Is it recorded on a


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                                                                               Page 135
 1                                     S. Calabrese
 2           separate track?           No.
 3                   MR. KERNELL:            Okay.        So it will be general
 4           recording.       Okay.
 5                    (Discussion held off the record.)
 6                    (Video played on counsel's computer and
 7    videotaped.)
 8                   THE WITNESS:            What was the question again?
 9                   MR. KERNELL:            There's no question.        Just
10           watch the video and then, you know, wait for --
11                   MS. WHEATLEY:             Yes.       If you could watch
12           the -- sorry.
13                   (Reporter clarifies.)
14                   MS. WHEATLEY:             You could -- can you see the
15           screen?
16                   THE WITNESS:            Yes.
17                   (Video played from counsel's computer.)
18                   THE WITNESS:            Well, I like that.        That was
19           actually -- who made -- Jeff made that?
20    BY MS. WHEATLEY:
21           Q.      Mr. Kaplan had -- the video I just showed
22    you, had you ever seen that before?
23           A.      Me?
24           Q.      Yes.
25           A.      No.

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                                                                              Page 136
 1                                    S. Calabrese
 2          Q.      I'm sorry.          Mr. Calabrese.
 3          A.      Yes, yes.         No, I've never seen it before, and
 4    I did like -- yeah, I mean.
 5          Q.      And the tone that kept sounding throughout
 6    the video, when you were discussing a Motorola sound
 7    earlier, was that the Motorola sound you were referring
 8    to?
 9          A.      It sounds like it.                  I can't say if it's
10    exactly the same, you know, pitch but very -- you know,
11    very similar to it, yes.
12          Q.      Okay.      And that sound is not on devices sold
13    by NW; is that correct?
14          A.      Correct.
15          Q.      And that sound is not used in connection with
16    any services offered by NW; is that correct?
17          A.      That's correct.
18          Q.      And that sound is not used with any
19    advertising done by NW; is that correct?
20          A.      That's correct.
21          Q.      So it's fair to say NW does not use that
22    sound in any way whatsoever?
23          A.      That's correct.
24          Q.      Okay.      And does NW have any knowledge as to
25    the ownership of that sound?


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                                                                                  Page 137
 1                                   S. Calabrese
 2          A.      As to the formal -- I mean, what -- what I
 3    think, or what is -- I mean, I -- no.                           I mean, all I
 4    know is the Motorola talk permit tone from my own
 5    experience as a telecommunications person.
 6          Q.      And the video you just saw, did you
 7    participate in creating that video?
 8          A.      No.
 9          Q.      And are we able to mark that video as an
10    exhibit?
11                  (Discussion held off the record.)
12                  MR. KERNELL:          Can you just -- can you, like,
13          put it on a -- either, like, a CD or DVD or jump
14          drive, and we'll just label that as, you know,
15          whatever -- or whatever the next Bates number is
16          or -- well, no.          Exhibit -- for an exhibit for
17          this, yeah.
18                  (Plaintiff's Exhibit 8 was marked for
19    identification.)
20                  (Discussion held off the record.)
21                  THE WITNESS:          Can I ask Mr. Kernell something
22          or that's not allowed?
23                  MS. WHEATLEY:           Well --
24                  MR. KERNELL:          If we want to go off the record
25          and --


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                                                                             Page 138
 1                            S. Calabrese
 2            MS. WHEATLEY:          Yeah.
 3            MR. KERNELL:          Because there's no pending --
 4            MS. WHEATLEY:          There's no pending question.
 5    If you'd like to talk to your attorney, we can go
 6    off the record.
 7            THE WITNESS:          Yeah.        For a moment.        That
 8    would be great.
 9            THE VIDEOGRAPHER:              Going off the video
10    record.     The time is 2:05 p.m.
11            (Discussion held off the record.)
12            THE VIDEOGRAPHER:              We're back on the video
13    record at 2:08 p.m.
14            MR. KERNELL:          So just to clarify -- and this
15    is -- the question from Mr. Calabrese is that the
16    answer to your last question -- you said so you
17    have never -- I think you said so you have never
18    used the sound mark in any manner whatsoever, and
19    his answer was no.
20            MS. WHEATLEY:          Uh-huh.
21            MR. KERNELL:          And so he -- the confusion is
22    no to a negative question.                  Does that mean yes or
23    no?    And so saying have you ever used it in -- so
24    if it's stated in the positive and said -- so it's
25    still a no.       So that was the question.

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                                                                                Page 139
 1                                   S. Calabrese
 2                  MS. WHEATLEY:            Let --
 3                  MR. KERNELL:           If we could read it back or,
 4          you know -- so --
 5                  THE WITNESS:           Just let me --
 6                  MS. WHEATLEY:            Let me --
 7                  MR. KERNELL:           Yeah.        Reword it.
 8                  MS. WHEATLEY:            Let me rephrase.
 9                  MR. KERNELL:           And I should have said
10          something about form, but that's okay.
11    BY MS. WHEATLEY:
12          Q.      Has -- have you or NW ever used what we've
13    referred to as the Motorola tone in any manner
14    whatsoever?
15          A.      No.
16                  MS. WHEATLEY:            Mark this as Exhibit 9.
17                  (Plaintiff's Exhibit 9 was marked for
18    identification.)
19    BY MS. WHEATLEY:
20          Q.      Mr. Calabrese, do you recognize the pictures
21    of the box I've placed in front of you?                         Or, rather,
22    I'll rephrase.
23                  Have you ever seen this picture box that's
24    shown in the picture I've just placed in front of you?
25          A.      Yes.

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